              Case 8:23-cv-01848-SDM-JSS Document 8-3 Filed 10/20/23 Page 1 of 1 PageID 624
EEOC Form S(06/22)                           Received by Tampa Field Office 5/8/23                                                                       EXHIBIT C
                             Cu ARGE            OF DISCRIMINATION                                                     Charge Presented To:                       Agency(ies) Charge No(s):
                  This form is affected by the Privacy Act of 1974. See enclosed Privacy Act
                         Statement and other information before completing this form.                                 EEOC        511-2023-02229



                        Florida Human             Rights Commission                                                                                                                    and EEOC
                                                                                     State or locat Agency, if any

Name (indicate Mr, Ms., Mrs., Miss, Mx., Dr., Hon., Rev., etc.)                                                                    Home Phone                                    Year of Birth


  Christine Sereni-Massinger, Esq.
Sweet Address, City State and ZIP Code




Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe Discriminated
Against Me or Others. (/f more than two, list under PARTICULARS below.)
Name                                                                                                                         No. Employees, Members                               Phone No.


 Saint Leo University                                                                                                | 20+                                           352-588-8200
Street Address, City State and ZIP Code




 33701 County Road 52, St. Leo, FL 33574
Name                                                                                                                         No. Employees, Members                               Phone No.



Street Address, City, State and ZIP Code




DISCRIMINATION       BASED       ON                                                                                   DATE(S)    DISCRIMINATION           TOOK   PLACE

                                                                                                                                     Earliest                                       Latest


  sex, reliaion discrimination retaliation                                                                                   2/16/23 and continuina
THE PARTICULARS        ARE (/f additional paper is needed, attach extra sheet(s)):




                                                    See attached.




                                                                                                                                                                            Slade OF Fla
          ;                  ;                                                          ;           ;                                           ~                             Sar                    FET   |
I want this charge filed with both the EEOC and the State or local Agency, if any. I will                | NOLARY - Wher necessaryfor State and Local Agency Requirements                        J
advise the agencies if | change my address or phone number and | will cooperate fully                   | |:                    c          Rs ;        1
with them in the processing of my charge in accordance with their procedures.                              _      INN WG       \ ES)       Wad      OC G AC

] declare under penalty of perjury that the above is true and correct.                                     I swear or affirm that I have read the above charge and that it is true to the best
                                                                                                           of my knowledge, information and belief.
                                                                                                           SIGNATURE OF         ZOMPLAINANT
                                                                                                                                a“ |)       =e



5S -ACA%                                                   aa                                              SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE (month, day, year)
Date                                       Charging Party Signature

                                                                                                                                    pee                      TAMMY S, BELLCASE
                                                                                                                                    (96 A"5"\ Notary Public - State of Florida
                                                                                                                                    ES Commission # HH 041418
                                                                                                                                        |           *   my Comm. Expires Oct 24, 2024 }
